IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
SOUTHERN DIVISION
CIVIL ACTION NO. 7-06-CV-4-BO03

In the Matter of:

Celso Marques,d/b/a :

Bluewater Jet Ski Rentals, 4 ORDER OF APPROVAL
Owner of the Yamaha Jet Ski, :

Hull Identification #YAMA2086690,

North Carolina Registration #NC1628WY,

For Exoneration from or

Limitation of Liability

The Court makes the following FINDINGS OF FACT, CONCLUSIONS
OF LAW AND ORDERS THE FOLLOWING pursuant to the parties’ Motion
for Order of Approval and Incorporated Settlement Agreement
(“Motion”);

BACKGROUND

1. This is an action for exoneration from or limitation of
liability arising out of a collision between a jet ski owned by
Limitation Plaintiff (but operated by a third party) and a
recreational vessel (owned and operated by third parties with
passengers including Claimants) which occurred near Sunset Harbor
on or about July 26, 2005.

2 On January 13, 2006, the Limitation Plaintiff commenced
a civil action in the United States District Court for the
Eastern District of North Carolina, Southern Division, Civil
Action File No. 7-06-CV-4-BO3 seeking exoneration from or
limitation of liability, civil and maritime, for damages arising

out of the alleged personal injuries sustained as a result of the

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collision,

Bs At ali pertinent times, Limitation Plaintiff was the
Owner of the Yamaha Jet Ski, a vessel of fiberglass construction,
2000 Model XL700, 60 horsepower, 10% 4” in length, Hull
Identification #YAMA20866900 or YAMA2086690 and Nerth Carolina

Registration #NC1628WY (“Yamaha”).

4. The following claimants make up the limitation
concursus:
a. Bryan Behuniak (d/o/b: September 22, 1958, father of

Ross Behuniak and David Behuniak, represented by
Andrew J. Hanley, Esq.);

b. Ross Behuniak (d/o/b: November 27, 1992), represented
by Andrew J. Hanley Esq. and court appointed guardian
ad litem, Don T. Evans, Esq.}; and

mn David Behuniak (d/o/b: September 5, 1989), represented
by Andrew J. Hanley Esq. and court appointed guardian
ad litem, Don T. Evans, Esq.).

De The parties now have agreed to settle all of the claims
which are, or might have been, adjudicated in this civil action,
providing for certain payments to Claimants in full and final
settiement and discharge of all their claims upon the terms and
conditions set forth hereinafter.

6. Markel American Insurance Company is the insurer
affording coverage to the Limitation Plaintiff for Claimants’

claims in this action pursuant to the conditions and provisions

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of its contract of insurance with Limitation Plaintiff.
7, The Settlement Agreement as set forth in the Motion as
well as all relief requested in such Motion is hereby APPROVED,

INCORPORATED HEREIN BY REFERENCE, and ORDERED by the Court.

STATEMENTS REQUIRED BY LOCAL CIVIL RULE 17.1(b), EDNC

8. All parties are properly represented and are properly
before the Court; no questions exist as to misjoinder or
nonjoinder of parties; and the Court has jurisdiction over the
subject matter and the parties.

9. The Claimants’ Answer and Claim filed with the Court
states a claim upon which relief can be granted and, without
limiting the foregoing, no affirmative defenses could clearly be
raised in bar of certain recovery sought by Limitation Plaintiff.

10. Andrew J. Hanley and Don T. Evans provided the
following services, among others for Ross Behuniak and David
Behuniak: review of Limitation Plaintiff's action, investigate
health and claims, prepare and cause to be filed an Answer and
Claim, prepare initial disclosures, evaluate and negotiate fair
and reasonable settlement as described herein.

ll. The estimated actual and foreseeable medical, hospital,
psychological and related expenses for Ross Behuniak will not
exceed $2400. A statement by an examining physician of Ross
Behuniak is attached to the parties’ Motion as Exhibit “1” and

sets forth the nature and extent cf Ross Behuniak’s injuries,

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extent of recovery and prognosis. David Behuniak was not seen by
an examining physician and he has no actual or foreseeable
medical, hospital, psychological nor related expenses relating to

his claim.

STATEMENT REQUIRED BY LOCAL CIVIL RULE 17.1(c), EDNC

i2. The settlement funds as described in the Motion shall

be disbursed by Crossley McIntosh Prior & Collier as follows:

® BRYAN BEHUNIAK: Crossley, McIntosh Prior &
Collier may retain $1,500 of $4,500; the remainder
Shali be used first to settle any medical liens (all
of which are less than $3,000) and any remaining sum
shall be payable to or in the discretion of Bryan
Behuniak;

° ROSS  BEHUNTAR: Crossley, McIntosh Prior 6&
Collier may retain $1,500 of $4,500; the remainder
shall be used first to pay the court appointed
Guardian Ad Litem’s $600 fee, second to settle any
medical liens (all of which are less than $2,400) and
any remaining sum shall be payable to or for the
benefit of Ross Behuniak; and

° DAVID BEHUNIAK: shall not be responsible for any
fee to Crossley, McIntosh, Prior & Collier nor to the

court appointed Guardian Ad Litem.

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All matters at issue or which might have been at issue
in this action are now resolved and the case is hereby
concluded.

IT IS SO ORDERED this day of 2006.

TERRENCE W. BOYLE
UNITED STATES DISTRICT COURT JUDGE

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